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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

AMERICAN LIBRARY ASSOCIATION,
  225 N. Michigan Ave.
  Suite 1300
  Chicago, Illinois 60601,

AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO,                          Case No. 1:25-cv-01050
  1625 L Street NW
  Washington, DC 20036,

                      Plaintiffs,

               v.

KEITH SONDERLING, in his capacity as
Acting Director of the Institute of Museum
and Library Services,
   955 L’Enfant Plaza North, SW,
   Suite 4000
   Washington, DC 20024,

INSTITUTE OF MUSEUM AND
LIBRARY SERVICES,
   955 L’Enfant Plaza North, SW,
   Washington, DC 20024,

DONALD TRUMP, in his capacity as
President of the United States of America,
   1600 Pennsylvania Avenue NW,
   Washington, DC 20050,

AMY GLEASON, in her capacity as Acting
Administrator of the U.S. DOGE Service
and U.S. DOGE Service Temporary
Organization,
   736 Jackson Place NW
   Washington, DC 20503,

U.S. DOGE SERVICE,
   736 Jackson Place NW
  Washington, DC 20503,
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U.S. DOGE SERVICE TEMPORARY
ORGANIZATION,
   736 Jackson Place NW
  Washington, DC 20503,

RUSSELL VOUGHT, in his capacity as
Director of the Office of Management and
Budget,
   725 17th Street NW, Suite 9272
   Washington, DC 20503, and

U.S. OFFICE OF MANAGEMENT AND
BUDGET,
   725 17th Street NW, Suite 9272
  Washington, DC 20503,

                     Defendants.



     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
                     PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       “In our system of government, broadly speaking, Congress sets policy to be executed by

the President . . . .” Shook v. D.C. Fin. Resp. & Mgmt. Assistance Auth., 132 F.3d 775, 782 (D.C.

Cir. 1998). Congress decided through duly enacted statutes that the policy of the United States

would be “to enable libraries to develop services that meet the needs of communities throughout

the Nation.” 20 U.S.C. § 9121(6). It created a federal agency, the Institute of Museum and Library

Services (“IMLS”), to implement this policy, imposing mandatory duties on its Director and Board

and appropriating hundreds of millions of dollars annually to fund it. See generally Museum and

Library Services Act, 20 U.S.C. § 9101 et seq.; Further Consolidated Appropriations Act of 2024,

Pub. L. No. 118-47, 138 Stat. 460, 697 (2024) (“2024 Appropriations Act”).

       Now, however, President Trump has unilaterally decided that IMLS is “unnecessary.”

“Continuing the Reduction of the Federal Bureaucracy,” Exec. Order No. 14238, 90 Fed. Reg.

13043, § 1 (Mar. 14, 2025) (“Executive Order”). By executive order, he has directed Defendants

to “eliminate[]” the “non-statutory components and functions” of IMLS “to the maximum extent

consistent with applicable law,” and “reduce the performance of their statutory functions and

associated personnel to the minimum presence and function required by law.” Id. § 2(a). Following

a playbook used to dismantle several other congressionally mandated agencies that President

Trump disfavors, Defendants immediately began gutting IMLS. Within days, Defendant Keith

Sonderling, the newly installed Acting Director of IMLS, fired all members of the National

Museum and Library Services Board (the “Board”), placed the entire staff on administrative leave,

and sent termination notices to the vast majority of the agency staff. He also began canceling grants

and contracts, and, on information and belief, is in the process of ending all or most of the

remaining grants. On April 9, 2025, Plaintiff ALA was notified that two of its IMLS grants—




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funding programs to engage Spanish-speaking families and to provide resources to library workers

to design effective programs for their communities—had been terminated.

       The services that IMLS’s staff provides and the grants it issues are the lifeblood of the

American library system. They are critical to the mission and function of the Plaintiffs and their

members. Plaintiff American Library Association (“ALA”) has more than 47,000 members,

including librarians, libraries, and members of the reading public. Plaintiff American Federation

of State, County and Municipal Employees, AFL-CIO (“AFSCME”) represents library workers

throughout the country. Plaintiffs and their members rely on IMLS for its expertise, resources, and

grant awards to provide crucial library services and programs. IMLS grant funds are critical to

sustaining these services and programs. Without them, libraries would be forced to end many of

their programs and cut staff. The harm to libraries and to their users will be devastating.

       Defendants’ evisceration of IMLS is illegal. The separation of powers and the Take Care

Clause prohibit the President and his functionaries from dismantling an agency created by statute.

IMLS’s governing statute imposes numerous mandatory duties on it and its Director. By reducing

IMLS to a husk, Defendants have made it impossible to carry out those duties, violating Congress’s

commands. Refusing to disburse money Congress appropriated in connection with several

statutory grant programs similarly treads upon Congress’s appropriations authority and the

separation of powers. And even if Defendants’ scheme were constitutional, they have violated the

Administrative Procedure Act by acting contrary to law and arbitrarily and capriciously. Plaintiffs

are therefore highly likely to show that Defendants’ actions violate the constitutional separation of

powers, the Spending Clause, the Take Care Clause, and the Administrative Procedure Act, and

that they are ultra vires. Defendants’ actions have begun to cause—and if not halted, will continue

to cause—serious and irreparable harm to Plaintiffs and their members. Those factors, plus the




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public interest, strongly favor an immediate preliminary injunction to stop Defendants’ devastating

and unlawful acts until this Court can consider the merits of Plaintiffs’ claims.

                                          BACKGROUND
       I.       The IMLS’s Statutory Mandate
             Congress created IMLS in the Museum and Library Services Act of 1996 (MLSA) and has

repeatedly reauthorized the statute. 20 U.S.C. § 9102 et seq. The MLSA created IMLS as an

independent agency within the National Foundation on the Arts and the Humanities. 20 U.S.C.

§ 9102(a). The Director of IMLS is appointed by the President with the advice and consent of the

Senate and serves a four-year term. 20 U.S.C. § 9103(a)(2). Every IMLS Director appointed must

have special competence regarding library and information services or museum services. 20 U.S.C.

§ 9103(a)(3).

             With respect to library services, the MLSA’s purposes include promoting “continuous

improvement in library services in all types of libraries in order to better serve the people of the

United States”; facilitating access to library resources “for the purpose of cultivating an educated

and informed citizenry”; “promot[ing] literacy, education, and lifelong learning, including by

building learning partnerships with school libraries in our Nation’s schools, including tribal

schools, and developing resources, capabilities, and programs in support of State, tribal, and local

efforts to offer a well-rounded educational experience to all students.” 20 U.S.C. § 9121(2), (3),

(5).

             The Director’s duties under the MLSA are specific, mandatory, and non-delegable. The

Director “shall have primary responsibility for the development and implementation of policy to

ensure the availability of museum, library, and information services adequate to meet the essential

information, education, research, economic, cultural, and civic needs of the people of the United




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States.” 20 U.S.C. § 9103(c)(1) (emphasis added). “In carrying out [this] responsibility the

Director shall—

       (A) advise the President, Congress, and other Federal agencies and offices on
       museum, library, and information services in order to ensure the creation,
       preservation, organization, and dissemination of knowledge;

       (B) engage Federal, State, and local governmental agencies and private entities in
       assessing the museum, library, and information services needs of the people of the
       United States, and coordinate the development of plans, policies, and activities to
       meet such needs effectively;

       (C) carry out programs of research and development, data collection, and financial
       assistance to extend and improve the museum, library, and information services of
       the people of the United States; and

       (D) ensure that museum, library, and information services are fully integrated into
       the information and education infrastructures of the United States.

20 U.S.C. § 9103(c)(2) (emphasis added).

       In addition, the MLSA requires the Director to carry out these responsibilities through

specific, affirmative, non-delegable statutory mandates. One of these mandates is that the Director

“shall regularly support and conduct, as appropriate, policy research, data collection, analysis and

modeling, evaluation, and dissemination of information to extend and improve the Nation’s

museum, library, and information services.” 20 U.S.C. § 9108(a) (emphasis added). From

appropriated amounts the Director “shall award grants from minimum allotments . . . to each

State.” 20 U.S.C. § 9131(b)(1) (emphasis added). The MLSA details a long list of purposes for the

State grants. 20 U.S.C. § 9141. The MLSA also specifies a series of additional grants that the

Director “shall” award, including grants to Indian tribes and organizations that primarily serve and

represent Native Hawaiians, 20 U.S.C. § 9161, and specified “national leadership grants” to

“enhance the quality of library services nationwide and to provide coordination between libraries

and museums,” 20 U.S.C. § 9162(a).




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          IMLS is thus charged by Congress with a long list of critical and mandatory duties

regarding libraries, which are in turn vital to a functioning democracy. IMLS manages these

responsibilities with a workforce of about 75 employees. See Inouye Decl. ¶ 4. IMLS currently

has over 650 open awards under the grant programs it administers to libraries, totaling over $450

million. Inouye Decl. ¶ 3. In 2024, IMLS issued more than $266 million in grants. Inst. of Museum

& Libr. Servs., Learn About IMLS: Legislation & Budget, https://perma.cc/8KPE-B8JA (last

visited Apr. 9, 2025). Pursuant to its data collection duties, IMLS for decades has maintained the

Public Libraries Survey, a longitudinal source of data about American public libraries upon which

librarians, researchers, and unions across the country rely. See Billinger Decl. ¶¶ 6–8; Fournier

Decl. ¶¶ 2–5.

    II.      Defendants Dismantle the Institute of Museum and Library Services
          On March 14, 2025, Defendant Trump issued an Executive Order titled “Continuing the

Reduction of the Federal Bureaucracy,” calling IMLS “unnecessary.” Executive Order § 1. The

Order seeks to “eliminate [IMLS] to the maximum extent consistent with applicable law,” directs

IMLS and other covered agencies to “reduce the performance of their statutory functions and

associated personnel to the minimum presence and function required by law,” id. § 2(a), and directs

IMLS to “submit a report to the Director of the Office of Management and Budget confirming full

compliance with this order and explaining which components or functions of the governmental

entity, if any, are statutorily required and to what extent,” id. § 2(b). It further orders the Director

of the Office of Management and Budget to “reject funding requests for such governmental entities

to the extent they are inconsistent with this order,” id. § 2(c).

          In the days following the Executive Order, Defendant Trump installed Defendant Keith

Sonderling, also currently the Deputy Secretary of the Department of Labor, as Acting Director of




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IMLS. News Release, Inst. of Museum & Libr. Servs., Keith E. Sonderling Sworn In as Acting

Director of Institute of Museum and Library Services (Mar. 20, 2025), https://perma.cc/2494-572P

(Sonderling News Release). Defendant Sonderling fails to meet the statutory minimum

qualifications for IMLS directorship under 20 U.S.C. § 9103. See Inst. of Museum & Libr. Servs.,

Keith Sonderling, https://perma.cc/RH28-KUYX (last visited Apr. 9, 2025). Upon being sworn in,

Defendant Sonderling indicated that he would act in “lockstep” with the Trump administration’s

priorities and that he would use IMLS to further a particular ideological viewpoint: “We will

revitalize IMLS and restore focus on patriotism, ensuring we preserve our country’s core values,

promote American exceptionalism and cultivate love of country in future generations.” Sonderling

News Release. However, nothing in the MLSA authorizes the agency to favor any particular

viewpoint. Congress did not create a propaganda department, but an agency impartially devoted

to fostering an educated and informed citizenry.

       On March 31, 2025, IMLS, under the direction of Defendant Sonderling, working with

members of the Department of Government Efficiency (DOGE) 1, proceeded to gut the agency. See

A Statement from AFGE Local 3403 on the Status of the Institute of Museum and Library Services,

AFGE Loc. 3403, https://perma.cc/CTZ9-XCUB (last visited Apr. 9, 2025) (AFGE Local 3403

Statement). IMLS, with DOGE, first put all of its approximately 75 employees on indefinite

administrative leave, forbade them access to IMLS’s offices, cut off their access to agency email

and computer systems, and informed them that all IMLS grants would be terminated. See Inouye

Decl. Ex. A–B; Decl. of Blake Doe, State of Rhode Island v. Trump, No. 25-cv-128 (D.R.I. Apr. 4,

2025), ECF No. 3-40 ¶ 11 (“Blake Doe Decl.”); see also Jennifer Schuessler, Trump



1
 References to the Department of Government Efficiency refer to both the U.S. DOGE Service
and the U.S. DOGE Service Temporary Organization and individuals employed directly by those
entities or working at their direction.


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Administration    Moves    to   Shutter   Library Agency,     N.Y. Times      (Mar.   31,   2025),

https://perma.cc/K4F9-XK59. IMLS’s director of human resources advised the employees that

they were put on administrative leave not for performance reasons, but instead “to facilitate the

work and operations of the agency.” Id.; see also Inouye Decl. Ex. A–B. On April 3, 2025,

Defendant Sonderling and DOGE terminated all but approximately 12 of the IMLS staff, effective

May 4, 2025. Inouye Decl. ¶ 4; see also Marisa Kabas (@marisakabas.bsky.social), Bluesky Social

(Apr. 3, 2025, 3:33 PM), https://perma.cc/54F4-CTR8. On information and belief, half of those

who remain are lawyers and a human resources officer; just one program officer remains to

administer all library programs, Inouye Decl. ¶ 4; see also Blake Doe Decl. ¶ 14. On the same day,

Defendant Sonderling fired all 23 members of the statutorily created Board. Inouye Decl. ¶ 6.

         Defendants also began canceling IMLS grants. Beginning April 1, 2025, at least three of

the State libraries that receive annual grants mandated by the MLSA were informed that their

grants were terminated. Id. ¶ 14; see Inouye Decl. Ex. C. On April 9, 2025, the Maine State Library

announced that it was forced to close for two weeks and to fire 13 staff members—30% of its

staff—as a direct result of losing IMLS funding. Maine State Library, Press Release: Maine State

Library Layoffs Due to Federal Funding Inaccessibility, https://perma.cc/W6PA-4LY7 (Apr. 9,

2025).

         On April 9, 2025, ALA received letters informing it that two of its IMLS grants were

terminated, effective April 8. Inouye Decl. ¶ 23; Inouye Decl. ex. D–E. The terminated grants were

issued to fund programs to provide resources to library workers to design effective programs for

their communities and to train public library staff in three states to engage Spanish-speaking

families in their communities. Inouye Decl. ¶ 22. More grant terminations are certain to follow.

And without staff to disburse grant funds or process and administer claims for reimbursement,




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grantees will not receive their grant funds, and grantees who have already expended funds in

reliance on their awards will be unable to receive reimbursements. Id. ¶ 20.

       The consequences for librarians, libraries, and the communities that rely on them will be

devastating. Libraries are already starting to close and will continue to be forced to reduce services.

See, e.g., id. ¶ 7–20. Some small rural libraries, including on Native American reservations, may

have no other option than to shut down entirely. Id. ¶ 18–19. Library users who rely on IMLS-

funded services like literacy services, early reading programs, reading for the visually and hearing

impaired, and inter-library lending, as well as many more, will find them reduced or eliminated.

See, e.g., id. ¶ 8; Neal Decl. ¶ 4; Gaber Decl. ¶¶ 9, 11; Willson Decl. ¶ 4; Jacobson Decl. ¶¶ 5–6.

                                    STANDARD OF REVIEW

       To obtain a preliminary injunction, a moving party must demonstrate: “(1) a substantial

likelihood of success on the merits; (2) that it would suffer irreparable injury if the injunction were

not granted; (3) that an injunction would not substantially injure other interested parties; and (4)

that the public interest would be furthered” by the order. Chaplaincy of Full Gospel Churches v.

England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citations omitted). The final two factors “merge

when the Government is the opposing party.” Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511

(D.C. Cir. 2016) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).

       This Court applies a “sliding scale” approach, wherein “a strong showing on one factor

could make up for a weaker showing on another.” Changji Esquel Textile Co. v. Raimondo, 40

F.4th 716, 726 (D.C. Cir. 2022) (internal quotation marks and citation omitted) (“not[ing ] tension”

with precedent, “but reserv[ing] the question whether the sliding-scale approach remains valid”);

Nat’l R.R Passenger Corp. (Amtrak) v. Sublease Interest Obtained Pursuant to an Assignment and




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Assumption of Leasehold Interest Made as of Jan. 25, 2007, Case. No. 22-1043, 2024 WL

3443596, at *1–2 (D.D.C. July 15, 2024) (noting “this court remains bound” by the sliding scale).

                                          ARGUMENT

         Defendants’ scheme to dismantle IMLS violates the Constitution, the Museum and Library

Services Act, the Impoundment Control Act, and the Administrative Procedure Act. The separation

of powers, the Take Care Clause, and the Spending Clause prohibit the executive branch from

eliminating an agency, reducing its staff to a skeleton crew that cannot carry out statutorily

mandated functions, or refusing to obligate appropriated funds. And even if Defendants possessed

constitutional or statutory authority to eviscerate IMLS, they have provided no reasoned

explanation for doing so, ignored strong reliance interests, and failed to consider more reasonable

alternatives. As a result, Plaintiffs and their members face imminent and irreparable harm: the loss

of services, funding, and data that are critical to their ability to pursue their missions, employ

librarians, and serve America’s many millions of library users.

   I.       Plaintiffs are likely to succeed on the merits.

                A. Defendants violated the Constitution by unilaterally dismantling a federal
                   agency.

                           1. Shuttering an agency created by statute and with statutorily
                              required functions violates the principle of separation of powers.

         The separation of powers doctrine is “foundational” and “evident from the Constitution’s

vesting of certain powers in certain bodies.” Seila L. LLC v. CFPB, 591 U.S. 197, 227 (2020); see

Trump v. United States, 603 U.S. 593, 637–638 (2024). The power to make laws rests exclusively

with Congress. See U.S. Const. art. I, § 1. As part of that authority, the power to establish,

reorganize, restructure, and abolish agencies likewise rests squarely with Congress. See Myers v.

United States, 272 U.S. 52, 129 (1926) (“To Congress under its legislative power is given the

establishment of offices, the determination of their functions and jurisdiction[.]”); see also Nat’l


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Fed’n of Indep. Bus. v. U.S. Dep’t of Labor, 595 U.S. 109, 117 (2022) (“Administrative agencies

are creatures of statute.”); Limitations on Presidential Power to Create A New Exec. Branch Entity

to Receive & Administer Funds Under Foreign Aid Legis., 9 Op. O.L.C. 76, 78 (O.L.C. 1985)

(recognizing the “Executive Branch’s acquiescence in the need for reorganization legislation in

order to restructure or consolidate agencies within the Executive Branch”). The President’s role

with respect to lawmaking, by contrast, is limited to the “recommending of laws he thinks wise

and the vetoing of laws he thinks bad.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579,

587 (1952).

       Given the constitutional division of powers, Defendants lack the authority to unilaterally

shutter IMLS, an agency established by statute. Arts, Humanities, and Cultural Affairs Act of 1976,

Pub. L. 94-462, Title II, 90 Stat. 1971 (codified as amended at 20 U.S.C. § 9102 et seq.). Congress

has, from time to time, given the President specific, circumscribed authority to reorganize the

federal bureaucracy. See Cong. Rsch. Serv., R42852, Presidential Reorganization Authority:

History, Recent Initiatives, and Options for Congress (2012), https://perma.cc/QY3T-XWG2

(“CRS Report”) (summarizing history of Reorganization Acts). But it has consistently declined

presidential requests for open-ended reorganization authority. See id. at 15–16, 20–23, 32

(describing failed efforts by the Truman, Lyndon B. Johnson, and George W. Bush administrations

to obtain permanent reorganization authority). The last Reorganization Act expired in 1984, see 5

U.S.C. § 905(b), and Congress has rejected requests for further reorganization authority ever since.

CRS Report at 31-33. Because Congress has legislated in this area and refused the power that the

current Administration is asserting, the President’s power is at its “lowest ebb.” Youngstown, 343

U.S. at 637 (Jackson, J., concurring). A president cannot unilaterally “eliminate” a congressionally

created agency, whether through executive order or otherwise.




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       Nor may an administration decide that an agency’s “priorities” include ignoring

congressionally required activities. Congress specified numerous structural components of IMLS

and activities it must undertake, which Defendants’ actions contravene. The Director is statutorily

required to be advised by the congressionally established Board, 20 U.S.C. § 9105a, which

Defendants have abolished. Congress imposed mandatory duties on the Director, including that he

“shall have primary responsibility for the development and implementation of policy to ensure the

availability of museum, library, and information services adequate to meet the essential

information, education, research, economic, cultural, and civic needs of the people of the United

States.” 20 U.S.C. § 9103 (emphasis added). The MLSA also commands that the Director “shall

regularly support and conduct, as appropriate, policy research, data collection, analysis and

modeling, evaluation, and dissemination of information to extend and improve the Nation’s

museum, library, and information services.” 20 U.S.C. § 9108 (emphasis added). The Director

“shall” award grants to states, Indian tribes, and organizations that primarily serve Native

Hawaiians. 20 U.S.C. §§ 9131, 9141, 9161. The Director “shall” carry out the National Leadership

Grants program “to enhance the quality of library services nationwide.” Id. § 9162. And Congress

required that the Director have special competence in library and information services or museum

services, 20 U.S.C. § 9103(a), which Defendant Sonderling lacks.

       These duties are not discretionary. “[T]he word ‘shall’ usually connotes a requirement.”

Kingdomware Tech., Inc. v. United States, 579 U.S. 162, 171 (2016); see also, e.g., Lexecon Inc.

v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 35 (1998) (recognizing that “shall” is

“mandatory” and “normally creates an obligation impervious to judicial discretion”). By firing

virtually the entire staff of the IMLS, without whom the agency cannot fulfill its duties, Defendants

unconstitutionally flout Congress’s commands.




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       Moreover, since the inception of the MLSA, Congress has repeatedly appropriated funds

for IMLS to carry out its mandatory duties. See Full Year Continuing Appropriations and

Extensions Act of 2025, Pub. L. No. 119-4, 139 Stat. 9 (2025) (“2025 Appropriations Act”).

Because the Constitution “exclusively grants the power of the purse to Congress, not the

President,” City & Cnty. of San Francisco v. Trump, 897 F. 3d 1225, 1231 (9th Cir. 2018) (citing

U.S. Const. art. I, § 9, cl. 7), “settled, bedrock principles of constitutional law” require the

executive branch to expend the funds that Congress duly authorizes and appropriates. In re Aiken

Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013) (Kavanaugh, J.). Even the Executive Order recognizes

that Defendants cannot take IMLS below the “minimum presence and function required by law.”

Executive Order, § 2(a). Congress specified the “minimum presence and function” by

appropriating nearly $300 million to IMLS, and Defendants’ efforts to leave most of that money

unspent through staff and grant terminations violate both the Spending Clause and the

Impoundment Control Act. See In re Aiken Cnty., 725 F.3d at 261 n. 1 (“[A] President sometimes

has policy reasons (as distinct from constitutional reasons) for wanting to spend less than the full

amount appropriated by Congress for a particular project or program. But in those circumstances,

even the President does not have unilateral authority to refuse to spend the funds. Instead, the

President must propose the rescission of funds, and Congress then may decide whether to approve

a rescission bill.” (citation omitted) (cleaned up)).

       Defendants are bound by these statutes. “There is no provision in the Constitution that

authorizes the President to enact, to amend, or to repeal statutes.” Clinton v. City of New York, 524

U.S. 417, 438 (1998); see Immigr. & Naturalization Serv. v. Chadha, 462 U.S. 919, 954 (1983)

(explaining that the “repeal of statutes, no less than enactment, must conform with Art. I”). “As

Madison explained in The Federalist No. 47, under our constitutional system of checks and




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balances, ‘[t]he magistrate in whom the whole executive power resides cannot of himself make a

law.’” Medellin v. Texas, 552 U.S. 491, 527–28 (2008) (alteration in original) (quoting J. Cooke

ed., p. 326 (1961)). Holding otherwise “would be clothing the President with a power entirely to

control the legislation of congress.” Kendall v. U.S. ex rel. Stokes, 37 U.S. 524, 613 (1838); see

also Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th 902, 908–09 (D.C. Cir. 2024)

(holding invalid regulations issued pursuant to an executive order, not pursuant to a congressional

delegation of authority).

       Other courts have similarly held that the executive branch’s shuttering of an agency

established by statute or refusal to spend appropriated funds violates the separation of powers. In

National Treasury Employees’ Union v. Vought, the court found a likelihood of success with respect

to similar constitutional claims as to the shutdown of the Consumer Financial Protection Bureau,

explaining “[w]hile the President is free to propose legislation to Congress to accomplish this aim,

the defendants are not free to eliminate an agency created by statute on their own.” No. 25-

0381, 2025 WL 942772, at *23 (D.D.C. Mar. 28, 2025) (order stayed on appeal on separate

grounds, No. 25-5091, 2025 WL 996856 (D.C. Cir. Apr. 3, 2025). Similarly, in AIDS Vaccine

Advocacy Coalition v. Department of State, the Court found that the plaintiffs were likely to prevail

on the merits of their claim that the Administration’s executive order directing a pause on all

funding provided by U.S. Agency for International Development violated the separation of powers

doctrine by disregarding the appropriations that Congress ordered spent. No. 25-00400, 2025 WL

752378, at *14–17 (D.D.C. Mar. 10, 2025). And the District Court for the Southern District of

New York recently granted a temporary restraining order enjoining the Administration from taking

any actions to shut down the United States Agency for Global Media under the same executive

order at issue here. Widakuswara v. Lake, 25-cv-2390, 2025 WL 945869, at *11 (S.D.N.Y. Mar.




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28, 2025). The court found that, among other things, plaintiffs had established a likelihood of

success on the merits of their claim that the Closure Order at issue in that case violated the

separation of powers doctrine. Id. at *7 (citation omitted). As in these cases, by directing that IMLS

be “eliminated,” firing virtually all IMLS staff, terminating grants, and firing the Board,

Defendants have exceeded their constitutional authority and violated the separation of powers.

       Nor can Defendants immunize their constitutional trespass into the province of the

legislature by relying on the Executive Order’s instruction to “eliminate [IMLS] to the maximum

extent consistent with applicable law.” Executive Order § 2(a) (emphasis added). “Savings clauses

are read in their context, and they cannot be given effect when the Court, by rescuing the

constitutionality of a measure, would override clear and specific language.” City & Cnty. of San

Francisco, 897 F.3d at 1239. Here, the Executive Order “unambiguously commands” that

Defendants “eliminate” IMLS funding and programs in contravention of the plain meaning of the

statutes that authorize them, so there is “more than a mere possibility that some agency might make

a legally suspect decision.” Id. at 1240. Courts have rejected the idea that an executive order can

avoid conflict with constitutional or statutory provisions through “a purely theoretical savings

clause, with no method or standard for invoking it, the application of which would undermine the

[substantive provisions of the Executive Orders].” HIAS, Inc. v. Trump, 985 F.3d 309, 325 (4th Cir.

2021); see City & Cnty. of San Francisco, 897 F.3d at 1240 (“The Executive Order’s savings clause

does not and cannot override its meaning.”).

                           2. Dismantling IMLS violates the Take Care Clause.

       For similar reasons, Defendants’ actions violate the Take Care Clause. The Constitution

imposes on the President the duty to “take care that the Laws be faithfully executed.” U.S. Const.,

art. II § 3; see also Morrison v. Olson, 487 U.S. 654, 690 (1988) (explaining that the President has

a “constitutionally appointed duty to ‘take care that the laws be faithfully executed’”) (quoting


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U.S. Const. art. II, § 3). The Supreme Court has explained that “[u]nder our system of government,

Congress makes laws and the President . . . faithfully execute[s] them.” Util. Air Reg. Grp. v. EPA,

573 U.S. 302, 327 (2014) (internal quotation marks and citation omitted). “Just as the Constitution

prevents Congress from intruding on the President’s power to execute the laws, the President—

and his subordinates—do not wield ‘authority to set aside congressional legislation by executive

order.’” New York v. Trump, No. 25-cv-01144, 2025 WL 573771, at *24 (S.D.N.Y. Feb. 21, 2025)

(quoting In re United Mine Workers of Am. Int’l Union, 190 F.3d 545, 551 (D.C. Cir. 1999)). This

obligation “to see that the laws are faithfully executed refutes the idea that [the President] is to be

a lawmaker.” Youngstown, 343 U.S. at 587. “[T]he President may not decline to follow a statutory

mandate . . . simply because of policy objections.” In re Aiken Cnty., 725 F.3d at 259. As the

Supreme Court has stated, “[t]o contend that the obligation imposed on the President to see the

laws faithfully executed, implies a power to forbid their execution, is a novel construction of the

constitution, and entirely inadmissible.” Kendall, 37 U.S. at 613. Holding otherwise “would be

clothing the President with a power entirely to control the legislation of congress.” Id.

       As explained above, the unilateral dissolution of IMLS by the President and his agents is

directly contrary to law, flouting both the MLSA and appropriations statues. The Executive violates

the Take Care Clause when it overrides statutes enacted by Congress. In re United Mine Workers,

190 F.3d at 551. The dismantling of IMLS thus violates the Take Care Clause. See Ctr. for

Biological Diversity v. McAleenan, 404 F. Supp. 3d 218, 244 (D.D.C. 2019) (recognizing that

“separation-of-powers principles also drive evaluations of claims brought under the Constitution’s

Take Care Clause”); Widakuswara, 2025 WL 945869, at *6-7 (quoting U.S. Const. art. II, § 3)

(“Withholding congressionally appropriated funds, and effectively shuttering a congressionally

created agency simply cannot be construed as following through on this constitutional mandate”




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to “take Care that the Laws be faithfully executed.”). Whether viewed as an encroachment on

Congress’s exclusive authority to legislate or as a dereliction of the executive’s duty to take care

that the laws are faithfully executed, the upshot is the same: Unilaterally dismantling the agency

violates the balance struck in the Constitution and is unlawful.

                B. Defendants violated the Administrative Procedure Act.

        The Administrative Procedure Act (APA) directs courts to “hold unlawful and set aside”

final agency actions that are arbitrary, capricious, an abuse of discretion, or in excess of statutory

authority or contrary to law. See 5 U.S.C. § 706(2). The APA also requires courts to “compel agency

action unlawfully withheld or unreasonably delayed.” Id. § 706(1). While any of these grounds

alone would be sufficient for an injunction, Defendants’ decision to dismantle IMLS is unlawful

under all of them and should be set aside to restore the status quo ante until the Court addresses

the merits of Plaintiffs’ claims.

                            1. Defendants’ decision to dismantle IMLS is final agency action.

        Defendants’ decision to shut down the IMLS is final agency action subject to this Court’s

review because it (1) marks “the consummation of the agency’s decisionmaking process” without

being “of a merely tentative or interlocutory nature” and (2) is “one by which rights or obligations

have been determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S.

154, 177–78 (1997) (quotation marks omitted).

        A decision to “shut down the agency entirely” is “a final, concrete decision” subject to

judicial review under the APA. Nat’l Treasury Emps. Union, 2025 WL 942772, at *13. Defendants’

actions make plain that the consummation of their decisionmaking process is to effectuate a

shutdown of IMLS as Congress intended it to be. Their actions to dismantle the agency have not

been “tentative” or “interlocutory,” id.; they have been deliberate and swift. Since Defendant




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Trump’s condemnation of the IMLS as “unnecessary,” Executive Order § 1, Defendants have

worked in concert to shut down IMLS.

       The newly appointed Acting Director of the IMLS, Defendant Sonderling, shortly after

announcing the agency’s new intent to “steer[] this organization in lockstep with this

Administration,” Sonderling News Release, proceeded to put all of the agency’s employees on

administrative leave for 90 days, instructing that no employee enter agency premises, Schuessler,

Trump Administration Moves to Shutter Library Agency, and thereby ensuring no functioning

agency. Though Defendant Sonderling recalled a small number of employees, including one

program officer each for the library and museum programs, Inouye Decl. ¶ 4, a single program

officer cannot do the work of dozens required to keep IMLS running. See Letter from Robert C.

Scott and Alma Adams, Committee on Education and the Workforce, to Keith Sonderling, IMLS

Acting Director (Apr. 4, 2025), https://perma.cc/SR6C-HN92 (“It strains credibility to suggest that

[IMLS] can live up to the immensity of MLSA’s statutory requirements with an entire staff on

administrative leave.”) Rather, Defendant Sonderling moved forward “authoriz[ing] the

termination” of that work by issuing letters to state grantees to terminate IMLS grants. See Inouye

Decl. ¶ 14; Inouye Decl. Ex. C. Shortly thereafter, Defendant Sonderling proceeded to issue

termination notices to all employees remaining on administrative leave, Inouye Decl. ¶ 4, and fire

all members of the Board, id. ¶ 6.

       All of Defendant Sonderling’s actions as the head of IMLS ring the bell of finality. He has

certainly been the agency head from which these decisions have come—not the employees he has

terminated nor even the Board he fired. Compare Nat’l Automatic Laundry & Cleaning Council v.

Shultz, 443 F.2d 689, 702 (D.C. Cir. 1971) (holding action by agency head as “signpost[] of

authoritative determination, finality[,] and ripeness”) with Soundboard Ass’n v. Fed. Trade




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Comm’n, 888 F.3d 1261, 1268 (D.C. Cir. 2018) (holding letter expressing “views of ‘staff’” rather

than agency authorities was not final agency action). Even if IMLS still exists in name only, an

“attempt[] to terminate” agency programming constitutes final agency action. Biden v. Texas, 597

U.S. 785, 807 (2022). The change to the agency is unlike normal agency management of programs,

but instead a “wholesale cessation of activities.” Nat’l Treasury Emps. Union, 2025 WL 942772,

at *12; see also Widakuswara, 2025 WL 945869, at *4 (“The termination of contracts with partner

organizations and the dismantling of critical infrastructure leading to the complete halt of agency

programming are final agency actions.”). This Court “should [] take action to preserve the [IMLS]

now, before the case concerning its fate has been resolved[.]” Nat’l Treasury Emps. Union, 2025

WL 942772, at *1.

       To the detriment of Plaintiffs and countless Americans, legal consequences have already

begun to flow from the dissolution of IMLS. IMLS staff have been placed on administrative leave

and notified their employment will be terminated by May 4, Inouye Decl. ¶ 4;

@marisakabas.bsky.social, Blueskye Social (Apr. 3, 2025, 3:33 PM); grantees—including ALA—

have suddenly lost funding, e.g., Inouye Decl. ¶¶ 14, 23–24, Exhibit D, Exhibit E; and the shell

IMLS has already become will undoubtedly terminate more grants and fail to timely disburse funds

for others, id. ¶ 20. As a result, libraries will be forced to discontinue services upon which

Americans across the nation rely, id. ¶¶ 7–20, 28–34, or even close entirely, e.g. id. ¶¶ 18–19.

                           2. Agency Defendants’ decision to dismantle IMLS is arbitrary and
                              capricious.

       The APA requires agency actions to be both “reasonable and reasonably explained.” Ohio

v. EPA, 603 U.S. 279, 292 (2024) (emphasis added) (quotation omitted); see also 5 U.S.C.

§ 706(2)(A). “The scope of review under the ‘arbitrary and capricious’ standard is narrow and a

court is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of the U.S.,



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Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Defendants’ decision to dismantle

IMLS is arbitrary and capricious in several respects.

       First, Agency Defendants 2 failed to articulate a reasoned explanation for dismantling

IMLS, or for the key actions taken to implement it, such as firing the bulk of IMLS staff, firing the

Board, and canceling IMLS grants. For decades, IMLS has provided crucial support to libraries

across the country. And IMLS has acknowledged that its work is important. As recently as last

year, IMLS justified its budget request to Congress by saying it was “strongly committed” to the

“goal of a more equitable America,” and that IMLS served that goal because “social mobility

within communities can be tied to the proximity of cultural institutions and particularly libraries.”

IMLS, Fiscal Year 2025: Congressional Justification, at 3 (March 2024), https://perma.cc/C36H-

YQ7H. In particular, IMLS has continually recognized the importance of its Native Communities

Grant Programs: “IMLS’s Native Communities grant programs have been effective in their

allowed flexibility of the use of funds” by providing “small, hard-to-reach Indigenous communities

access to much-needed funding.” IMLS, Evaluation of IMLS’s Native Communities Grant

Programs, at 6 (2024) https://perma.cc/63AY-A33L. Agency Defendants failed to explain their

about-face regarding the continued importance of IMLS and its programs. See FCC v. Fox

Television Stations, 556 U.S. 502, 515 (2009) (An agency may not “depart from a prior policy sub

silentio” and “must show that there are good reasons for the new policy.”).

       The shred of clarification Agency Defendants have offered—that its programs and grants

are “inconsistent with IMLS’ priorities,” Inouye Decl. Ex. C—comes nowhere close to “a rational

connection between the facts found and the choice made.” Motor Vehicles, 463 U.S. at 43. Their




2
 “Agency Defendants” means Defendants Sonderling, IMLS, Gleason, U.S. DOGE Service, U.S.
DOGE Service Temporary Organization, Vought, and OMB.


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sole explanation for placing virtually the entirety of IMLS’s staff on administrative leave pending

their imminent termination—that it will somehow “facilitate the work and operations of the

agency,” Inouye Decl. Ex. A–B—is manifestly irrational. Nor is it sufficient for them to point to

the Executive Order as justification for their actions without further articulation. Tate v. Pompeo,

513 F. Supp. 3d 132, 143 (D.D.C. 2021) (“The means by which the Secretary implements the

Proclamations are therefore within the discretion of the Secretary, are not dictated by the

Proclamations themselves, and require the Secretary to exercise judgment.” And even imputing

the executive order’s rationale—that IMLS is “unnecessary,” EO § 1—to Agency Defendants does

not constitute a reasoned explanation. Firing the staff necessary to evaluate IMLS grant requests

and “ensure that scarce federal resources are used appropriately,” Neal Decl. ¶ 6, furthermore

highlights the capriciousness of Agency Defendants’ decision.

       Second, Agency Defendants “entirely failed to consider an important aspect of the

problem,” Motor Vehicles, 463 U.S. at 43, firstly the severe and obvious harms that would ensue

from shutting down the country’s primary funder of library services. Librarians across the country

rely daily on IMLS library professionals as resources, and IMLS administers funds that support

library programs and services including, but not limited to, supporting the training of library

professionals, workforce development, and educational and literacy programming. See Inouye

Decl. ¶¶ 5, 7–20. Defendants’ dismantling of IMLS has already resulted in terminating grants, e.g.,

id. ¶ 14, Ex. C, and remaining grants are expected to be terminated en masse. See Francis Decl.

¶¶ 23–25. Even grants not formally terminated will likely go unpaid, and reimbursement requests

will likely be ignored, given IMLS is now operating on a skeleton staff that will not be able to

keep up with the day-to-day operations of a 75-person agency. Inouye Decl. ¶¶ 20, 27; Neal Decl.

¶ 5. As a result of Defendants’ actions, librarians across the country will lose access to crucial




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resources, see Adams Decl. ¶¶ 7–9, and libraries will be forced to end programs funded by grants

and cut staff, see id., Willson Decl. ¶¶ 3–5, Bradley Decl. ¶¶ 3–4, Inouye Decl. ¶ 23. Agency

Defendants gave no apparent consideration to these consequences, rendering the shutdown

decision arbitrary and capricious.

       Agency Defendants also failed entirely to consider how dismantling IMLS will impact

programs administered by other executive agencies pursuant to their statutory mandates. For

example, in dismantling IMLS, Agency Defendants have fired the staff and canceled the contracts

necessary to fulfill IMLS’s data collection duties, 20 U.S.C. § 9108, which include maintaining

the Public Libraries Survey, an irreplaceable longitudinal source of data about American public

libraries. Failing to continue collecting and maintaining this data will almost certainly harm the

Federal Communications Commission’s (FCC) ability to implement the E-Rate program, which

provides Universal Service Fund funding to subsidize broadband internet access to libraries and

public schools pursuant to congressional mandate. See 47 U.S.C. § 254(h)(2)(A); FCC, E-Rate:

Universal Service Program for Schools and Libraries, https://perma.cc/F6NF-FC5G (last visited

Apr. 10, 2025). The E-Rate program relies on Public Libraries Survey data, including library

square footage, to determine libraries’ funding eligibility. See 47 C.F.R. §§ 54.501(b), 54.502(d).

Defendants appear to have given no thought to how the FCC can continue to administer the E-Rate

program after IMLS fails to maintain Public Libraries Survey data.

       Third, Agency Defendants entirely neglected serious reliance interests on the continued

existence of IMLS and its grant programs. See Dep’t of Homeland Sec. v. Regents of the Univ. of

California, 591 U.S. 1, 30 (2020) (“When an agency changes course, . . . it must be cognizant that

longstanding policies may have ‘engendered serious reliance interests that must be taken into

account.’” (quoting Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016)). Libraries rely




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on IMLS expertise, Inouye Decl. ¶ 5, on IMLS funding to continue numerous programs across the

country, id. ¶¶ 7–21, Adams Decl. ¶¶ 3–9, Willson Decl. ¶¶ 3–5, Bradley Decl. ¶¶ 3–4, and on

getting reimbursed for expenses already incurred, Neal Decl. ¶ 8, Inouye Decl. ¶¶ 23–24, 28.

       For example, Librarians, researchers, and unions across the country rely on IMLS data—

and Public Libraries Survey data in particular—which cannot feasibly be replicated by any other

entity. See Billinger Decl. ¶ 8; Inouye Decl. ¶ 33; Fournier Decl. ¶¶ 8–11. Even a temporary pause

in data collection and maintenance will harm the integrity of the longitudinal data and

consequently injure those researchers who rely on it. See Fournier Decl. ¶¶ 10–11. Additionally,

library users rely on continued access to their libraries and their programs, such as accessing digital

collections or expensive textbooks for graduate school programs. See Francis Decl. ¶¶ 10–14,

Jacobson Decl. ¶¶ 3–6. Agency Defendants’ actions to shutter IMLS will immediately and

irreparably harm researchers, libraries, and the patrons who rely on them. Agency Defendants

failed “to assess whether there were reliance interests, determine whether they were significant,

and weigh any such interests against competing policy concerns,” Regents of the Univ. of

California, 591 U.S. at 33, as the APA requires.

       Fourth, Agency Defendants failed to consider alternatives less drastic than abruptly

shutting down the IMLS. See Motor Vehicles, 463 U.S. at 51. Agency Defendants could have

considered targeted reductions in IMLS staff or grants, consistent with the agency’s various legal

obligations, that would accomplish the administration’s policy goals while accounting for

established reliance interests and averting throwing the countries’ libraries into a state of chaos.

They chose not to. Instead, they decided to “eliminate” IMLS, leaving the agency unable to carry

out both its general mission and specific actions and functions required by statute and with




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corresponding harm. Failure to consider a less drastic course renders the decision arbitrary and

capricious.

                           3. Agency Defendants lack statutory authority to dismantle IMLS.

       “Administrative agencies are creatures of statute. They accordingly possess only the

authority that Congress has provided.” Nat’l Fed’n of Indep. Bus. v. OSHA, 595 U.S. 109, 117

(2022). “An agency,” in other words, “‘literally has no power to act’ . . . unless and until Congress

authorizes it to do so by statute.” FEC v. Cruz, 596 U.S. 289, 301 (2022). Under the APA, courts

must hold unlawful final agency action taken “in excess of statutory jurisdiction, authority, or

limitations.” 5 U.S.C. § 706(2)(C).

       Agency Defendants lack statutory authority to shut down IMLS. In the Museum and

Library Services Act, Congress mandated that IMLS exist as a functioning agency. Arts,

Humanities, and Cultural Affairs Act of 1976, Title II, § 203(a). Congress passed no subsequent

statute authorizing Agency Defendants to undo the agency or prevent it from functioning as

Congress intended.

       Agency Defendants lack statutory authority to eliminate the Board, which was also created

by statute. 20 U.S.C. § 9105a. Congress mandated that the Board consist of 23 members with

specialized expertise in library and museum services, to advise the IMLS Director on policy

matters in carrying out IMLS’s duties. Id. § 9105a(b)(1), (d)(1). Yet on April 4, 2025, Defendant

Sonderling fired all 23 Board members. Neal Decl. ¶ 7. No statute gives Defendant Sonderling

authority to do so.

                           4. Agency Defendants’ decision to dismantle IMLS is contrary to law.

       The APA further directs courts to hold unlawful final agency action “found to be . . .

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). That reference to “law,” the Supreme

Court has held, “means, of course, any law, and not merely those laws that the agency itself is


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charged with administering.” FCC v. NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003)

(emphasis in original). Plaintiffs are likely to prevail on their claim that Agency Defendants’

decision to dismantle IMLS is contrary to the MLSA, appropriations acts, the Impoundment

Control Act, and the Paperwork Reduction Act.

       As discussed supra, pages 3–5, in the MLSA, Congress requires the Director of IMLS to

perform various duties. For example, the Director “shall” advise other federal departments on

museum and library services, carry out research programs and data collection, and issue various

types of grants for purposes. See, e.g., 20 U.S.C. §§ 9103, 9108, 9131, 9141, 9161. When an

agency administers a federal statute, the agency’s power to act is “authoritatively prescribed by

Congress.” City of Arlington v. FCC, 569 U.S. 290, 297 (2013). In the MLSA, Congress left no

wiggle room: the IMLS Director must perform the duties and issue the grants prescribed. By

shutting down IMLS—including firing the bulk of its staff, eliminating the Board, and terminating

grants under these programs—Defendants have acted contrary to the MLSA’s requirements.

       Agency Defendants are also violating statutes that appropriated funds to IMLS to

implement its statutory duties through September 30, 2025. See Full-Year Continuing

Appropriations and Extensions Act, 2025, Pub. L. 119-4, 139 Stat. 9 (“2025 Appropriations Act”);

Further Consolidated Appropriations Act, 2024, Pub. L. 118-47, 138 Stat. 460, 697 (“2024

Appropriations Act”). Congress appropriated $294,800,000 to IMLS “[f]or carrying out the

Museum and Library Services Act of 1996 and the National Museum of African American History

and Culture Act.” 2024 Appropriations Act, 138 Stat. at 697. 3 Notably, Congress did not

appropriate, for example, “up to” $294,800,000, or instruct IMLS to implement its duties using



3
  The National Museum of African American History and Culture Act (NMAAHC Act) commands
the Director of IMLS to establish grant and scholarship programs to support and promote African
American museums and studies. Pub. L. 108-184, § 7, 117 Stat. 2676, 2680 (2003).


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“sums not exceeding” that amount; rather Congress appropriated precisely $294,800,000 to IMLS,

indicating its intention for IMLS to make a good faith effort to obligate and expend the full amount

to carry out its duties and issue statutorily mandated grants. Cf. CFPB v. Com. Fin. Servs. Ass’n,

601 U.S. 416, 432-33 (2024); id. at 442-43 (Kagan, J., concurring) (observing that Congress uses

specific language, such as appropriating “sums not exceeding” or “up to” an amount for a particular

purpose, when it intends to give the agency discretion to spend less than that amount).

        IMLS has terminated the bulk of its staff, including those necessary to screen grant

applications and disburse IMLS funds. See Inouye Decl. ¶¶ 4, 20; Neal Decl. ¶ 4. As a result, IMLS

will be unable to continue fulfilling its statutory duties and issuing grants or disbursing grant funds,

or collecting and maintaining data, as Congress mandated. See CFPB, 601 U.S. at 432–33; id. at

442–43 (Kagan, J., concurring). Indeed, Agency Defendants’ actions to “eliminate[]” IMLS all but

guarantee the agency will not expend appropriated funds, in violation of the 2024 and 2025

Appropriations Acts.

       Agency Defendants’ actions to terminate grants and fire the staff necessary to screen and

process grants are also contrary to the Impoundment Control Act (ICA), 2 U.S.C. § 681 et seq.,

which restricts the executive branch’s authority to refuse to spend funds that Congress has

appropriated. The ICA prohibits an agency from “(A) withholding or delaying the obligation or

expenditure of budget authority . . . provided for projects or activities; or (B) . . . effectively

preclud[ing] the obligation or expenditure of budget authority” except under specified

circumstances. 2 U.S.C. §§ 682(1), 684(b). Deferring obligations for policy reasons—such as a

grant award being “inconsistent with [this administration’s] priorities,” a Decl. Ex. C, is not

permitted. See GAO, Office of Management and Budget—Withholding of Ukraine Security

Assistance, B-331564, at 6 (Jan. 16, 2020), https://perma.cc/6TMT-3CH2; see also City & Cnty.




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of San Francisco, 897 F.3d at 1235 (“Absent congressional authorization, the Administration may

not redistribute or withhold properly appropriated funds in order to effectuate its own policy

goals.”); New York v. Trump, No. 25-CV-39-JJM-PAS, 2025 WL 715621, at *11 (D.R.I. Mar. 6,

2025), enforced, No. 25-CV-39-JJM-PAS, 2025 WL 1009025 (D.R.I. Apr. 4, 2025).

        Finally, Agency Defendants have violated the Paperwork Reduction Act, which prohibits

an agency from making “a substantive or material modification to a collection of information after

such collection has been approved by the” Director of OMB, without prior approval. 44 U.S.C.

§ 3507(h)(3). The Public Libraries Survey and other IMLS research and data projects are

“collections of information” previously approved by OMB under the Paperwork Reduction Act.

See OIRA, OMB Control No: 3137-0074, https://perma.cc/A5WX-625R (approving Public

Libraries Survey through November 30, 2027). In dismantling IMLS, Agency Defendants have

fired the staff necessary to fulfill IMLS’s data collection duties, 20 U.S.C. § 9108, which include

maintaining the Public Libraries Survey. IMLS has also terminated contracts with researchers who

collect data for the Public Libraries Survey. Fournier ¶ 8. Failing to collect the data necessary to

the survey constitutes, at minimum, a “substantive or material modification” to the approved data

collection. Yet, on information and belief, IMLS has not obtained the statutorily required approval

from OMB to make this modification.

                            5. By dismantling IMLS, Defendants Sonderling and IMLS unlawfully
                               withhold or unduly delay mandatory agency action.

        The APA also provides that a reviewing court “shall . . . compel agency action unlawfully

withheld or unreasonably delayed[.]” 5 U.S.C. § 706(1). This type of APA claim arises “where

a plaintiff asserts that an agency failed to take a discrete agency action that it is required to

take.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004) (emphases in original). It is

akin to mandamus under the All Writs Act. Id. at 63.



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       For the reasons discussed above, supra pages 16–18, Defendants’ decision to dismantle

IMLS is a final agency action. By choosing to dismantle IMLS, Defendants have also chosen not

to fulfill mandatory duties required by statute, including maintaining data collection programs and

databases, see 20 U.S.C. §§ 9103, 9108, and awarding various grants, see id. §§ 9131, 9141, 9161,

9162. This Court should compel Defendants IMLS and Sonderling to act to come into compliance

with these statutes. See Widakuswara, 2025 WL 945869, at *8 (“By terminating and threatening

to terminate the majority of USAGM [U.S. Agency for Global Media] staff, cancelling grants to

its grantee networks abroad, and shutting down the transmitters that serve as the conduits for any

radio programming to listeners abroad, Defendants have failed to carry out the clear, specific

statutory mandates of the agency’s governing statute. None of the statutory requirements

enumerated above can be effectuated if the agency has been shuttered.”).

               C. Defendants’ dismantling of IMLS is ultra vires.

       Because Defendants have violated applicable statutes and acted beyond their statutory

authority in dismantling IMLS, their actions are ultra vires and should be enjoined by the Court.

“Review for ultra vires acts rests on the longstanding principle that if an agency action is

‘unauthorized by the statute under which the agency assumes to act,’ the agency has ‘violated the

law’ and ‘the courts generally have jurisdiction to grant relief.’” Nat’l Ass’n of Postal Supervisors

v. U.S. Postal Serv., 26 F.4th 960, 970 (D.C. Cir. 2022) (quoting Am. Sch. of Magnetic Healing v.

McAnnulty, 187 U.S. 94, 108 (1902)) (cleaned up). As discussed above, supra 11–13, 23–24,

Defendants have violated clear mandates in the MLSA. That Defendants offered no legitimate




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“contemporaneous justification” is further evidence of ultra vires action. Nat’l Ass’n of Postal

Supervisors, 26 F.4th at 975 (internal quotations and citations omitted).

    II.      Plaintiffs will suffer irreparable harm without immediate relief.

          To establish irreparable harm, a movant must demonstrate that it faces an “injury that is

‘both certain and great; it must be actual and not theoretical,’ and of a nature ‘of such imminence

that there is a clear and present need for equitable relief to prevent irreparable harm.’” Tex.

Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 242 (D.D.C. 2014) (quoting Wis. Gas Co. v. Fed.

Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985)). “[O]bstacles” that “make it more

difficult for [Plaintiffs] to accomplish their primary mission” suffice to show irreparable injury.

League of Women Voters of the U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016). For example, a

“forced diversion of resources” that will “perceptibly impair” a plaintiff’s program constitutes

irreparable harm sufficient to grant preliminary relief. Dist. of Columbia v. U.S. Dep’t of Agric.,

444 F. Supp. 3d 1, 41–42 (D.D.C. 2020) (quoting League of Women Voters, 838 F.3d at 8).

Similarly, “if a plaintiff has shown that financial losses are certain, imminent, and unrecoverable,

then the imposition of a preliminary injunction is appropriate and necessary.” Tex. Children’s

Hosp., 76 F. Supp. 3d at 242 (quoting Wis. Gas, 758 F.2d at 53) (cleaned up).

          First, Plaintiff ALA has already been harmed by Defendants’ unlawful actions. On April 9,

2025, ALA received letters informing it that two of its IMLS grants were terminated, effective

April 8. Inouye Decl. ¶¶ 23–24; Inouye Decl. ex. D–E. The substantively identical termination

letters state:

          IMLS has determined that your grant is unfortunately no longer consistent with the
          agency’s priorities and no longer serves the interest of the United States and the
          IMLS Program. IMLS is repurposing its funding allocations in a new direction in
          furtherance of the President’s agenda. Independently and secondly, the President’s
          March 14, 2025 executive order mandates that the IMLS eliminate all non-
          statutorily required activities and functions.



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Inouye Decl. ex. D–E. These grants fund two critical programs. One program provides resources

for library workers so that they can design more compelling and effective programs for their

communities across the country. Inoue Decl. ¶ 22. This project is especially beneficial for libraries

without credentialed librarians, often in smaller and/or rural libraries. Id. The other program trains

public library staff from California, Georgia, and Massachusetts on best practices for collaborating

with Spanish-speaking community members, and on using principles of co-design to improve

library services for families. Id.

        Defendants have terminated funding for these programs midstream. As a result of these

grant cancellations, ALA will be unable to continue funding these vital projects. Id. ¶ 24. The ALA

member libraries and their communities who rely on the program to engage Spanish-speaking

families will be harmed. That program was intended to boost Spanish-speaking families’

engagement with their local libraries and the services they provide; ending the program midstream

will almost certainly result in a reduction of that engagement. Id. Similarly, communities across

the country will be harmed by Defendants’ terminating the grant to support resources to library

staff to design compelling and efficient programs. Id. 4

        If Defendants are allowed to proceed with their unlawful plan to eliminate IMLS, Plaintiffs

and their members will continue to suffer a variety of irreparable harms. They will lose—and, in



4
  That this case concerns the termination of government grants and contracts does not deprive this
Court of jurisdiction over Plaintiffs’ claims. Although the Tucker Act, 28 U.S.C. § 1491(a)(1) has
been read to “impliedly forbid contract claims from being brought in district court,” Perry Cap.
LLC v. Mnuchin, 864 F.3d 591, 618-19 (D.C. Cir. 2017) (cleaned up), whether a claim falls under
the Tucker Act “depends not simply on whether a case involves contract issues, but on whether,
despite the presence of a contract, plaintiffs’ claims are founded only on a contract, or whether
they stem from a statute or the Constitution.” Transohio Sav. Bank v. Dir., Off. of Thrift Supervision,
967 F.2d 598, 609 (D.C. Cir. 1992) (emphasis added), overruled on other grounds by Perry Cap.,
864 F.3d at 620; Cemex Inc. v. Dep’t of the Interior, 560 F. Supp. 3d 268, 276 (D.D.C. 2021).
Plaintiffs bring claims under the Constitution and the APA, arising from Defendants’ unlawful
dismantling of an entire executive agency. See Compl. ¶¶ 74–118.


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many cases, are currently losing—access to the day-to-day services for which they rely on IMLS,

its staff, and programs that it funds. They face the imminent threat of being forced to shutter

programs and lay off staff if their own funding access is impeded. AFSCME represents library

workers who will likely lose their jobs, as well as workers who can expect to see their workloads

increase due to staffing and programming cuts. And IMLS will no longer collect and disseminate

critical longitudinal data that Plaintiffs regularly use.

        Second, in addition to terminating ALA’s grants, Defendants have already cut off funding

for programs that directly benefit Plaintiffs and their members. As laid out in more detail in Rhode

Island v. Trump, Defendants have terminated numerous states’ grants under the statutorily

mandated Grants to States program. Inouye Decl. ¶ 14; Compl. ¶ 70, Rhode Island v. Trump, No.

25-cv-128, ECF No. 1. These grants pay the salaries of dozens of state library personnel who

provide training services and other support to Plaintiff ALA’s member libraries. See, e.g., Inouye

Decl. ¶ 13. They also fund numerous programs that State Library Administrative Agencies provide

to Plaintiff ALA’s member libraries and Plaintiff AFSCME’s member library staff, such as

continuing education. See, e.g., id. ¶¶ 12–13; Gaber Decl. ¶ 8, 21; Adams Decl. ¶ 6; Bradley Decl.

¶ 4; Neal Decl. ¶ 4. As a result of Defendants’ termination of IMLS grants, the Maine State Library

has already announced it will close for two weeks and fire 30% of its staff. Maine State Library,

Press Release: Maine State Library Layoffs Due to Federal Funding Inaccessibility (Apr. 9, 2025).

        If Defendants are not enjoined, these funding cuts will soon be joined by termination of the

additional states’ funding under the Library Services and Technology Act (“LSTA”), 5 which will

further impair libraries’ ability to obtain state-required training for librarians, including ALA




5
 The LSTA is a subchapter of the MLSA and commands the Director of IMLS to issue grant
awards to the states. 20 U.S.C. § 9131 et seq.


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members. Ending LSTA grants would dramatically decrease State libraries’ ability to provide

training services and likely require State libraries to lay off additional employees who provide

training. Inouye Decl. ¶ 13. As explained by librarians in Maryland, the annual funding their

libraries receive for training is necessary to ensure that staff members meet state law certification

requirements. Newman Decl. ¶¶ 7–8; Willson Decl. ¶ 3. Staff receive training in customer service,

de-escalation techniques, practical strategies for working with individuals experiencing

homelessness, communication, and best practices in early literacy instruction, among other things.

Willson Decl. ¶ 3; Gaber Decl. ¶ 16. As a Maryland librarian explains, if LSTA grants to the

Maryland State Library are cut, her county library would be unable to pay for the interlibrary loan

system, training for staff, and electronic resources. Newman Decl. ¶ 9. The Arizona Secretary of

State similarly stated that loss of IMLS funding would result in “an immediate and ongoing

disruption of services,” including disruptions to its academic and business databases and delays in

the procurement of essential technology. Fontes Decl. ¶¶ 19, 23, Rhode Island v. Trump, No. 25-

cv-128, ECF No. 3-1.

       The imminent termination of non-state grants will similarly harm Plaintiffs and their

members. For example, the Minitex consortium serves libraries throughout Minnesota, providing

(among many other services) a catalog of 10 million items that the libraries can offer to their

patrons. Francis Decl. ¶ 11. Minitex receives more than $1 million in IMLS funding, the loss of

which “would lead to a reduction in Minitex’s services and staffing.” Id. ¶¶ 22–23. It has already

halted project grants due to the anticipated loss of IMLS funding. Id. ¶ 25. As a result, libraries

throughout Minnesota—including numerous ALA member libraries—will likely lose access to the

very lending materials they offer to their patrons, impeding their core mission.




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       As another example, the director of a university library explained that IMLS funding is

currently supporting the nationwide expansion of a graduate program to provide specialized

training to librarians who wish to advance their careers. Bradley Decl. ¶ 3. Without that funding,

the library will be forced to fire the program manager and the imminent expansion will not go

forward. Id. As a result, prospective and current librarians around the country will not be able to

receive training that significantly expands their career opportunities and will be unable to fill

vacant specialized positions. Id.

       Third, Plaintiffs’ members are at imminent risk of losing funding themselves if Defendants’

evisceration of IMLS continues. As the Librarian Emeritus of Columbia University, who has spent

over 60 years dedicated to library services and was, until last week, a member of the IMLS

advisory board, explains: “Any interruption in IMLS funding would have direct and immediate

consequences for libraries and the communities that rely on them. Important services would have

to be eliminated and some small libraries would have to reduce hours or even shut down.” Neal

Decl. ¶ 4. This would significantly impair their organizational mission, to say nothing of the harm

to the communities that depend on those libraries to provide vital and timely services to the public.

       The resulting harms would be devastating and irreparable across a variety of programs and

services that Plaintiffs’ members provide and rely on. IMLS supports state library programs and

services through several kinds of grants. For example, elimination of National Leadership Grants

would have an immediate effect on libraries’ ability to provide vital services such as early learning,

literacy, financial literacy, and digital access programs. Inouye Decl. ¶¶ 9, 15; Naficy Decl. ¶ 2.

Without these funds, libraries will likely have to lay off staff members and cancel programs. Naficy

Decl. ¶ 7, 8. In turn, these cuts “will be felt keenly” by library users, “who look to the library as a

lifeline for information, community, betterment, career advancement, and basic modern




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connectivity.” Johnston Decl. ¶ 14. An abrupt halt in library services or programs upon which

community members rely would thus harm the goodwill of libraries within their communities. Cf.

Endo Par Innovation Co., LLC v. Becerra, No. CV 24-999, 2024 WL 2988904, at *8 (D.D.C. June

10, 2024) (finding loss of goodwill with customers irreparable harm).

        Another key goal of the MLSA is to provide grants for tribal and Native Hawaiian libraries.

These are directed at serving some of the poorest and most remote communities in our nation.

Inouye Decl. ¶¶ 18–19. The elimination of such grants would result in a dramatic reduction in

services to these communities, and some tribal libraries would likely have to shut down. Id. ¶ 18.

Indeed, one librarian who works for a library that serves both a tribal community college and the

entire reservation has explained that it would have to “cut literacy programs in a place that is a

book desert”; either lose its library catalog or at least not be able to support the catalog as currently

funded; and be unable (as a result of IMLS staff being fired) to ask for assistance from

professionals at the State Library. Adams Decl. ¶¶ 7–9. Losing access to the library catalog would

threaten the college’s accreditation. Id. ¶ 7. Another librarian in a western state explained the

“devastating impact” that the loss of IMLS funding will have on many rural and tribal libraries.

Bradley Decl. ¶ 4. For some, IMLS grants are the only source of funding, and the “[r]eduction or

elimination of IMLS funds will cause a reduction or elimination of library services[.]” Id. ¶ 4.

        ALA and its members have relied on IMLS grants in hiring staff and entering into vendor

contracts. ALA has made specific commitments, including for staff services and vendor contracts,

on the strength of its active $2.4 million in awards from IMLS. Inouye Decl. ¶ 26. ALA already

has pending reimbursements to pay for those commitments, and Defendants appear to have already

begun to stop payments. Id. ¶¶ 20, 23–24, 26. Reimbursement requests that are typically processed

in four days have gone unpaid for two weeks. Id. Likewise, libraries that have already spent funds




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in reliance on IMLS grants may be unable to pay their vendors and will have to terminate staff.

Inouye Decl. ¶ 28; Neal Decl. ¶ 8; Gaber Decl. ¶¶ 23–24. Their ability to serve their communities

and carry out their organizational missions will be deeply and irreparably compromised.

       Fourth, Defendants’ cuts—both the funding terminations that have already occurred and

the imminent ones that Defendants intend to execute—will cost untold numbers of AFSCME

members their jobs. See, e.g., Francis Decl. ¶ 27; Gaber Decl. ¶¶ 3, 24. Numerous library positions

are funded wholly or in part by IMLS grants. See, e.g., Inouye Decl. ¶ 13; Gaber Decl. ¶ 23. And

in some cases, libraries and other entities reliant on IMLS funds will be forced to cut a significant

percentage of their staff. For example, Minitex will likely need to cut 10 of its 30 bargaining unit

positions. Francis Decl. ¶ 27. This sudden loss of significant expertise and institutional knowledge

at libraries and library-adjacent entities across the country will be impossible to recover. See Girl

Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of Am., Inc., 549 F.3d 1079, 1095 (7th Cir.

2008) (finding inadequate legal remedy where “potential loss of institutional knowledge

accompanying the unwanted termination of employees” was “virtually impossible” to calculate in

damages).

       Fifth, IMLS provides non-monetary benefits that the ALA, AFSCME, and their members

will lose access to as a result of Defendants’ actions. IMLS staff advise librarians around the

country on a daily basis. Inouye Decl. ¶ 5. These professionals are an invaluable resource that

would be lost entirely due to the termination of almost the entire IMLS staff and will be felt

immediately. Neal Decl. ¶ 5.

       IMLS is also a leader for research in the library field, and especially when there is a

compelling national interest. Inouye Decl. ¶ 33; see also Cooper Decl. ¶¶ 4-6. The agency

coordinates with the states to facilitate regular, authoritative, and systematic data collection,




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analysis, and reporting. Inouye Decl. ¶ 33. The Public Libraries Survey, for example, provides

statistics of public libraries in the United States, analogous to the U.S. Census Bureau for people.

Data are collected annually from approximately 9,000 public libraries with approximately 17,000

individual public library outlets (main libraries, branches, and bookmobiles) in the 50 states, the

District of Columbia, and outlying territories. Fournier Decl. ¶ 2; see also Billinger Decl. ¶ 6. It

would be impossible to achieve the same standard of research through a de-centralized system

comprising independently managed state programs. Inouye Decl. ¶¶ 33-34. The loss of this data

for even a short period of time will irreparably harm Plaintiffs, as would significant gaps in the

data collected. A disruption in data collection will mean that studies currently underway will not

be completed and studies for which data has been collected will not be analyzed and reported, and

will result in a loss of data used for longitudinal studies and analyses which will deprive the public

of valuable information about trends in library services. Fournier Decl. ¶¶ 10–11. ALA would

further be harmed by the loss of Public Libraries Survey data, as it is a subgrantee for a project to

provide guidance and tools to help public libraries reach audiences with stories that relies on that

data. Inouye Decl. ¶ 25.

       IMLS’s Public Libraries Survey data is also critical to AFSCME’s ability to negotiate

collective bargaining agreements and cannot be replicated outside of the survey. Billinger Decl. ¶¶

7-8. Losing this data “will immediately reduce the bargaining power of all AFSCME-affiliated

unions representing library employees around the country.” Id. ¶ 8. Given the binding nature of

collective bargaining agreements and the limited bases for reopening them, this harm will be

irreparable for any AFSCME affiliate whose collective bargaining agreement is under negotiation

or about to expire—like Local 3800 in Minnesota, whose current agreement expires less than 90

days from now. Francis Decl. ¶ 28.




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        In sum, Defendants’ dismantling of IMLS has impaired and will continue to impair

Plaintiffs’ ability “to accomplish their primary mission” in numerous ways. League of Women

Voters, 838 F.3d at 9. Preliminary injunctive relief is required to ensure that these harms are

minimized while the Court resolves this litigation on the merits.

III.    The balance of equities and public interest strongly favor preliminary relief.

        The final two factors to consider in weighing whether to order preliminary relief—the

balance of equities and the public interest—“merge when the Government is the opposing party.”

Pursuing Am.’s Greatness, 831 F.3d at 511 (quoting Nken, 556 U.S. at 435). These factors weigh

heavily in favor of preliminary relief here.

        The public has a strong interest in the required execution of the MLSA enacted by

Congress, and, specifically, in the IMLS’s continued funding and operation of the ALA and its

member public libraries. The public benefits from its libraries being enabled to “pursue the worthy

missions of facilitating learning and cultural enrichment.” United States v. Am. Libr. Ass’n, Inc.,

539 U.S. 194, 203 (2003); see also 20 U.S.C. § 9121 (laying out purposes of MLSA).

        By contrast, Defendants have no legitimate interest in unlawfully dissolving the IMLS,

preventing it from fulfilling its statutory duties, and in turn preventing Plaintiffs and their members

from being able to continue providing crucial services and programs reliant upon IMLS funding.

“It is well established that the Government cannot suffer harm from an injunction that merely ends

an unlawful practice.” C.G.B. v. Wolf, 464 F. Supp. 3d 174, 218 (D.D.C. 2020) (internal quotation

marks and citations omitted), and “[t]here is generally no public interest in the perpetuation of

unlawful agency action.” Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017).

Instead, “there is a substantial public interest in having governmental agencies abide by the federal

laws . . . that govern their existence and operations.” Id. (internal quotation marks and citations




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omitted). Simply put: the public has a strong interest in Defendants abiding by the law, thus

continuing operations of the IMLS.

       Any interest Defendants may claim to possess in (purported) prudential fiscal management

cannot justify a rapid and wholesale defunding of an agency whose budget typically amounts to a

miniscule fraction of federal spending: In 2024, the IMLS awarded $266.7 million, 6 while total

federal expenditures were $6.75 trillion, 7 meaning IMLS comprised less than 0.004% of federal

expenditures. Abruptly dismantling IMLS is the type of “drastic” government action with “far-

reaching consequences” that courts have found counsels in favor of emergency relief, even where

the government’s countervailing interest has been significantly more compelling than Defendants’

present interest here. Ass’n of Cmty. Cancer Centers v. Azar, 509 F. Supp. 3d 482, 501–03 (D. Md.

2020) (finding equities and public interest weighed in favor of enjoining drug price regulation

issued during pandemic). Given the strong interest in preserving the American tradition of public

libraries, and the absence of any interest in perpetuating Defendants’ unlawful action, the equities

weigh heavily in favor of Plaintiff’s injunction.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter a preliminary

injunction enjoining Defendants from taking further steps to dissolve IMLS, including by freezing

or terminating awarded grant funds, transferring IMLS’s reserve funds or otherwise using them for

a purpose other than the operation of IMLS, or reducing IMLS’s staff, and requiring Defendants




6
  Inst. of Museum & Libr. Servs., Learn About IMLS: Legislation & Budget,
https://perma.cc/8KPE-B8JA (last visited Apr. 9, 2025).
7
    See U.S. Dep’t of the Treas., How much has the U.S. government spent this year?,
https://perma.cc/PF7C-KEKY (last visited Apr. 9, 2025).


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to take all necessary steps to return IMLS and its employees, grantees, and contractors to their

status prior to March 31, 2025. 8

    Dated: April 10, 2025                           Respectfully submitted,

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8
  No bond should be required under Fed. R. Civ. Pr. 65(c). This Court has “broad discretion . . . to
determine the appropriate amount of an injunction bond,” DSE, Inc. v. United States, 169 F.3d 21,
33 (D.C. Cir. 1999), “including the discretion to require no bond at all.” P.J.E.S. ex rel. Escobar
Francisco v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (quoting Simms v. District of Columbia,
872 F. Supp. 2d 90, 107 (D.D.C. 2012)). A bond “is not necessary where requiring [one] would
have the effect of denying the plaintiffs their right to judicial review of administrative action.” Nat.
Res. Def. Council, Inc. v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971) (collecting cases). Security
should be waived when compliance with the preliminary injunction raises no risk of monetary loss
to the defendant—and Defendants here have not met their burden to provide any evidence of such
a risk. See TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 85 n.4 (D.D.C. 2020) (bond is inappropriate
where plaintiff seeks “to vindicate important interests, and there is no risk that Defendants will
suffer monetary harm”). In similar cases, courts in this Circuit have determined bond unnecessary.
See, e.g., Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239, 2025 WL 597959,
at *19 (D.D.C. Feb. 25, 2025).


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